     Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 1 of 12




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION


UNITED STATES OF AMERICA



        V.                                            Case No. 2:18-cr-050


JAMAAL DAVID GAINES



                               PLEA AGREEMENT


        Defendant JAMAAL DAVID GAINES, represented by his counsel James R.

Newton, Esq., and the United States of America, represented by Assistant United

States Attorneys Jennifer J. Kirkland and Marcela C. Mateo, have reached a plea

agreement in this case. The terms and conditions of that agreement are as follows:

1.      COUNTS TO WHICH DEFENDANT PLEADS GUILTY

        Defendant agrees to enter a plea of guilty to Count 1 of the Superseding

Indictment, which charges violations of Title 21, United States Code, Section 846.

2.      ELEMENTS AND FACTUAL BASIS


        The elements necessary to prove Count 1 are (1) That two or more people in

some way agreed to try to accomplish a shared and unlawful plan to possess a mixture

or substance containing detectable amount of marijuana, a Schedule I controlled

substance; and (2) That the Defendant knew the unlawful purpose of the plan and

willfully joined in it; and (3) That the object of the unlawful plan was to possess with

the intent to distribute and distribute the marijuana. Defendant agrees that he is, in
     Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 2 of 12




 fact, guilty of this offense. He agrees to the accuracy of the following facts, which
 satisfy each of the offense's required elements:

        Beginning on a date unknown to the Grand Jury, but as early as October 2017,
 up to and including the return date of this indictment, the precise dates being
unknown, in Glynn County, and simrounding counties, within the Southern District

of Georgia, and elsewhere, the defendant, JAMAAL DAVID GAINES, aided and
abetted by the co-defendants and by others known and unknown, did knowingly and
intentionally combine, conspire, confederate and agree together and with each other,
and with others known and unknown, to possess with the intent to distribute and

distribute the marijuana. All in violation of Title 21, United States Code, Sections
841(a)(1) and 846.

3.     POSSIBLE SENTENCE

       Defendant s guilty plea to Count 1 will subject him to the following maximum
possible sentence: Imprisonment of not more than 5 years, a supervised release term
of at least 2 years, a $250,000 fine, and forfeiture of all forfeitable assets. The Court

additionally must impose a $100 special assessment.

4.     NO PROMISED SENTENCE

       No one has promised Defendant that the Court will impose any particular
sentence or a sentence within any particular range. The Court is not bound by any
estimate of sentence given or recommendations made by Defendant's counsel, the
government, the U.S. Probation Office, or anyone else. The Court may impose a
     Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 3 of 12




sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.      COURT'S USE OF SENTENCING GUIDELINES

        The Court is obligated to use the United States Sentencing Guidehnes to

calculate the applicable guideline range for Defendant's offense. The Sentencing

Guidehnes are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest.      The Court will consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18

U.S.C. § 3553(a), in determining the Defendant's sentence.           The Sentencing

Guidelines are based on^of Defendant's relevant conduct, pursuant to U.S.S.G. §

IB 1.3, not just the conduct underlying the particular Count or Counts to which

Defendant is pleading guilty.

6.      AGREEMENTS REGARDING SENTENCING GUIDELINES

        a.    Use ofInformation

        Nothing in this agreement precludes the Government from providing full and

accurate information to the Court and U.S. Probation Office for use in calculating the

applicable Sentencing Guidehnes range.

        b.   Acceptance of Responsibility

        The Government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3E1.1(a) of the Sentencing Guidehnes. Ifthe U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or
     Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 4 of 12




greater prior to any reduction for acceptance of responsibility, the Government will

move for an additional one-level reduction in offense level pursuant to Section

3E1.1(b) of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

        c.    Low End of Guidelines Range

        The Government wiU recommend that Defendant be sentenced to the low end

of the advisory Guidehnes range determined by the Court at sentencing.

7.      COOPERATION


        a.    Complete and Truthful Cooperation Required

        Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in the Indictment and any

related offenses. Defendant shall fully and truthfully disclose his knowledge ofthose

offenses and shall fully and truthfully answer any question put to him by law

enforcement officers about those offenses.

        This agreement does not require Defendant to "make a case" against any

particular person. His benefits under this agreement are conditioned only on his

cooperation and truthfulness, not on the outcome of any trial, grand jury, or other

proceeding.

        b.    Motion for Reduction in Sentence Based on Cooperation

        The government, in its sole discretion, will decide whether Defendant's

cooperation qualifies as "substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed.

R. Crim. P. 35 and thereby warrants the fihng of a motion for downward departure
     Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 5 of 12




or reduction in defendant's sentence. If such a motion is filed, the Court, in its sole

discretion, will decide whether, and to what extent, defendant's sentence should be

reduced. The Court is not required to accept any recommendation by the government

that the defendant's sentence be reduced.

8.      FINANCIAL OBLIGATIONS AND AGREEMENTS

        a.    Restitution


        The amount of restitution ordered by the Court shall include restitution for the

full loss caused by Defendant's total criminal conduct. Restitution is not hmited to

the specific counts to which Defendant is pleading guilty. Any restitution judgment

is intended to and wiU survive Defendant, notwithstanding the abatement of any

underlying criminal conviction.

        b.    Special Assessment

        Defendant agrees to pay a special assessment in the amount of $100, payable

to the Clerk of the United States District Court, which shall be due immediately at

the time of sentencing.

        c.    Required Financial Disclosures

        By the date that Defendant enters a guilty plea. Defendant shall complete a

financial disclosure form listing all his assets and financial interests, whether held

directly or indirectly, solely or jointly, in his name or in the name of another.

Defendant shall sign the financial disclosure form under penalty of perjury and

provide that form to the Financial Litigation Unit of the United States Attorney's

Office and to the United States Probation Office. Defendant authorizes the United
  Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 6 of 12




States to obtain credit reports on Defendant and to share the contents ofthose reports

with the Court and the United States Probation Office. Defendant also authorizes

the United States Attorney's Office to inspect and copy all financial documents and

information held by the United States Probation Office.

        d.    Financial Examination


        Defendant will submit to an examination under oath on the issue of his

financial disclosures and assets if deemed necessary by the United States. Such

examination will occur not later than 30 days after the entry of Defendant's guilty

plea.

        e.    No Transfer of Assets

        Defendant certifies that he has made no transfer of assets in contemplations

of this prosecution for the purpose of evading or defeating financial obligations

created by this Agreement or that may be imposed upon him hy the Court at

sentencing. Defendant promises that he will make no such transfers in the future.

        f.    Material Change in Circumstances

        Defendant agrees to notify the United States of any material change in

circumstances, as described in 18 U.S.C.§ 3664(k), that occurs prior to sentencing in

this case. Such notification will be made within seven days of the event giving rise

to the changed circumstances, and in no event later than the date of sentencing.

        g.    Enforcement

        Any payment schedule imposed by the Court is without prejudice to the United

States to take all actions and remedies available to it to collect the full amount of the
     Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 7 of 12




financial obligations imposed by the judgment of the Court in this case. Defendant

understands and agrees that the financial obligations imposed by the judgment ofthe

Court in this case will be placed on the Treasury Offset Program so that any federal

payment that Defendant receives may be offset and applied to the judgment debt

without regard to or affecting any payment schedule imposed by the Court.

9.      WAIVERS


        a.    Waiver ofAppeal

        Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if(1)the court enters a sentence above the statutory

maximum,(2)the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

        b.    Waiver of Collateral Attack

        Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.


        c.    FOIA and Privacy Act Waiver
  Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 8 of 12




       Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution ofthis case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto,

       d.    Fed. R. Crim. P. 11(f) and Fed. R. Evid. 410 Waiver

       Rule 11(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibihty of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

10.   DEFENDANT'S RIGHTS

       Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.




                                           8
  Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 9 of 12




11.   SATISFACTION WITH COUNSEL

      Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant beheves that his attorney has represented his faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

12.   21 U.S.C. SECTION 851 ENHANCEMENT

      The Government agrees not to file a Title 21, Section 851 enhancement against

the Defendant, if apphcable.

13.   BREACH OF PLEA AGREEMENT

      If Defendant fails to plead guilty, withdraws or attempts to withdraw his guilty

plea, commits any new criminal conduct following the execution of this agreement, or

otherwise breaches this agreement, the Government is released from all of its

agreements regarding Defendant's sentence, including any agreements regarding the

calculation of Defendant's advisory Sentencing Guidehnes.          In addition, the

Government may declare the plea agreement null and void, reinstate any counts that

may have been dismissed pursuant to the plea agreement, and/or file new charges

against Defendant that might otherwise be barred by this plea agreement. Defendant

waives any statute-of-limitations or speedy trial defense to prosecutions reinstated

or commenced under this paragraph.




                                         9
  Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 10 of 12




14.    ENTIRE AGREEMENT


       This agreement contains the entire agreement between the Government and

Defendant. The Government has made no promises or representations except those

set forth in writing in this Plea Agreement. The Government fui'ther denies the

existence of any other terms or conditions not stated herein. No other promises,

terms or conditions will be entered into unless they are in writing and signed by all

the parties.

                                       BOBBY
                                       UNIT                   ORNEY




Date                                   Brian T. Rafferty
                                       Chief, Criminal Division




Date                                                rMai

                                                    rteo^tates Attorney




Date                                       cela C. Mateo
                                       Assistant United States Attorney




                                        10
 Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 11 of 12




       I have read and carefully reviewed this agreement with my attorney, t

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and acciu'ate in every respect.



        ^
Date                                   yj^naaal David Gaines
                                        Defendant




       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntary one.




Date                                    Jame&R. Newton
                                        Defendant's Attorney




                                          11
     Case 2:18-cr-00050-LGW-BWC Document 550 Filed 05/20/19 Page 12 of 12




                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION


UNITED STATES OF AMERICA                     Case No. 2:18-cr-050


V.



JAMAAL DAVID GAINES

                                     ORDER


       The aforesaid Plea Agi-eement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the defendant's

attorney at a hearing on the defendant's motion to change his plea and the Court

finding that the plea of guilty is made freely, voluntarily and knowingly, it is

thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agreement be, and it is, hereby ratified and confirmed.

       This     day of May 2019.




                                        [ONOMm^E LIS^..GOT)BEY WOOj
                                        rNITJED STATE^ISTRICT COURT
                                        ;OUTHERN DISTRICT OF GEORGIA
